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 7

 8                                UNITED STATES DISTRICT COURT
                                 NORTHERN DISTRICT OF CALIFORNIA
 9                                      SAN JOSE DIVISION
10

11 Google LLC,                                    Case No. 17-cv-04207-EJD

12                 Plaintiff,                     [PROPOSED] ORDER GRANTING GOOGLE’S
                                                  MOTION FOR DEFAULT JUDGMENT AND
13                                                PERMANENT INJUNCTIVE RELIEF
           vs.
14
   Equustek Solutions Inc., Clarma
15 Enterprises Inc., and Robert Angus,

16                 Defendants.
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                                                                         Case No. 17-cv-04207-EJD
                                          [PROPOSED] ORDER
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 1           Plaintiff Google LLC (“Google”) has moved for a default judgment and permanent

 2 injunction preventing Defendants Equustek Solutions Inc., Clarma Enterprises Inc., and Robert

 3 Angus (collectively, “Equustek”) from enforcing in the United States the order Equustek obtained

 4 in Canada (the “Canadian Order”) that enjoins Google from displaying certain links associated

 5 with the “Datalink” business in Google’s search results in all countries, including the United

 6 States.

 7           Having considered the motion:

 8           GOOGLE’S MOTION FOR A DEFAULT JUDGMENT AND PERMANENT
 9 INJUNCTION IS GRANTED.

10           The Court has subject matter jurisdiction over this action under 28 U.S.C. § 1331 because

11 this action arises under federal law, namely the First Amendment to the U.S. Constitution and the

12 Communications Decency Act, 47 U.S.C. § 230. The Court has personal jurisdiction over

13 Equustek because the defendants were properly served with process in Canada, and have

14 intentionally pursued foreign litigation against a U.S. company and obtained an order compelling

15 it to remove certain search results in the United States. See Yahoo! Inc. v. La Ligue Contre Le

16 Racisme, 433 F.3d 1199, 1209-11 (9th Cir. 2006).

17           Equustek has failed to respond to Google’s Complaint, oppose Google’s Motion for

18 Preliminary Injunctive Relief, or move to set aside the Clerk’s Entry of Default. Equustek has not

19 filed anything in response to the Court’s November 2, 2017 Preliminary Injunction Order, nor

20 otherwise appeared in this action. Accordingly, the Court will convert its Preliminary Injunction

21 Order into a Permanent Injunction Order and issue default judgment.

22           Enforcement of the Canadian Order against Google in the United States concerning search

23 results in the United States is permanently enjoined. Google has established that the Canadian

24 Order is not enforceable concerning search results in the United States because the Canadian

25 Order abrogates Google’s civil immunity under the Communications Decency Act, is repugnant to

26 United States law as inconsistent with the First Amendment, and trespasses on international

27 comity.

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                                               [PROPOSED] ORDER
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 1          The Canadian Order would eliminate Section 230 immunity for service providers that link

 2 to third-party websites. By forcing intermediaries to remove links to third-party material, the

 3 Canadian order undermines the policy goals of Section 230 and threatens free speech on the global

 4 internet. The Canadian Order’s abrogation of Section 230 immunity constitutes irreparable harm

 5 to Google by restricting activity that Section 230 protects.

 6          Google’s U.S. search results are protected speech under the First Amendment. Because the

 7 Canadian Order is not narrowly tailored to achieve a compelling interest, Google faces irreparable

 8 harm due to its inability to exercise its First Amendment rights.

 9          In addition, the Canadian Order ignores that each country is the master of its own territory

10 only. The Canadian Order does not recognize or provide the level of protection for speech that

11 U.S. public policy demands. Its censorship of U.S. search results is therefore repugnant to the

12 public policy of the United States and unenforceable.

13          The balance of equities and public interest, including the interest in upholding the federal

14 policy of the United States, weigh in Google’s favor and warrant a permanent injunction.

15          IT IS SO ORDERED.
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17 DATED: ___________, 2017

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                                                  By
20                                                     Hon. Edward J. Davila
                                                       United States District Judge
21                                                     Northern District of California
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                                                        -3-                         Case No. 17-cv-04207-EJD
                                               [PROPOSED] ORDER
